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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                 )          4:04CR3156-2
                                          )
             Plaintiff,                   )
                                          )
vs.                                       )          ORDER
                                          )
JOE M. DELGADO JR.,                       )
                                          )
             Defendant.                   )

       IT IS ORDERED that an initial appearance on the petition for action on
conditions of pretrial release (filing 100) is scheduled on Friday, November 18, 2005,
at 2:00 p.m., before Judge Kopf in Lincoln, Nebraska.

      November 17, 2005.                      BY THE COURT:

                                              s/ Richard G. Kopf
                                              United States District Judge
